    18-13359-shl Doc 660-1 Filed 02/22/19 Entered 02/22/19 15:33:05                                 Stipulation
       and Order Granting Standing to the Official Committee of Unsecured                          Pg 1 of 5


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------- X
                                       :
In re:                                                        Chapter 11
                                       :
REPUBLIC METALS REFINING                                      Case No. 18-13359 (SHL)
CORPORATION, et al.,1                  :
                                                              (Jointly Administered)
                 Debtor,                                  :

                                       :
-------------------------------------- X

                  STIPULATION AND ORDER GRANTING STANDING
             TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS

         This Stipulation and Order (the “Stipulation”) is entered into by and among the above-

captioned debtors (the “Debtors”) and the Official Committee of Unsecured Creditors (the

“Committee”).

         WHEREAS, on November 2, 2018, the Debtors filed voluntary petitions for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), and on November 21,

2018, certain additional debtors filed voluntary petitions for relief under the Bankruptcy Code;

         WHEREAS, the Debtors continue to operate their businesses and manage their properties

as debtors in possession pursuant to 11 U.S.C. §§ 1107(a) and 1109 and no trustee or examiner

has been appointed in these cases;




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number, include: Republic Metals Refining Corporation, 15 West 47th Street, Suites 206 and 209, New York, NY
10036 (3194), Republic Metals Corporation, 12900 NW 38th Avenue, Miami, FL 33054 (4378), Republic Carbon
Company, LLC, 5295 Northwest 163rd Street, Miami Gardens, FL 33014 (5833), Republic High Tech Metals, LLC,
13001 NW 38 Avenue, Miami, FL 33054 (6102), RMC Diamonds, LLC, 12900 NW 38th Avenue, Miami, FL 33054
(1507), RMC2, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (4696), J & L Republic LLC, 12900 NW 38th
Avenue, Miami, FL 33054 (7604); R & R Metals, LLC, 12900 NW 38th Avenue, Miami, FL 33054 (7848), Republic
Metals Trading (Shanghai) Co., Ltd., 276 Ningbo Road, Huangpu District, Shanghai, P.R. 200001 China (1639), and
Republic Trans Mexico Metals, S.R.L., Francisco I. Madero No. 55 Piso 5, Local 409, Centro Joyero Edificio Central,
Delegación Cuauhtémoc, Mexico DF 6000 (2942).


48043747;2
 18-13359-shl Doc 660-1 Filed 02/22/19 Entered 02/22/19 15:33:05                      Stipulation
    and Order Granting Standing to the Official Committee of Unsecured               Pg 2 of 5


         WHEREAS, on November 19, 2018, the Office of the United States Trustee for Region 2

appointed the Committee;

         WHEREAS, on December 21, 2018, this Court entered an order [Dkt. No. 353] granting

the Committee’s Motion for an Order Pursuant to Bankruptcy Rule 2004 Authorizing Discovery

of the Debtors and Third Parties [Dkt. No. 306];

         WHEREAS the Committee has requested that the Debtors consent to entry of a stipulation

and order granting the Committee standing to investigate, and if the Committee deems appropriate,

prosecute, settle, or abandon (i) any and all causes of action and claims arising under chapter 5 of

the Bankruptcy Code or equivalent state fraudulent transfer or conveyance laws and (ii) any and

all claims or causes of action on behalf of the Debtors’ estates against the Debtors’ current and

former insiders, entities owned/controlled by or related to such insiders, and/or individuals or

entities that may have aided, abetted, participated in or otherwise facilitated misconduct by the

Debtors’ insiders or their related entities (the “Estate Causes of Action”);

         WHEREAS, the Debtors and Committee agree that it would be in the best interests of the

estate and its creditors for the Committee to be granted standing to pursue, prosecute, compromise,

and litigate, as appropriate, the Estate Causes of Action.

         NOW THEREFORE, it is hereby stipulated and agreed, subject to Court approval, by the

Debtors and the Committee as follows:

         1.     Standing is hereby conferred to the Committee to pursue, compromise, and

prosecute the Estate Causes of Action.

         2.     The Committee is hereby appointed as a representative of the Debtors’ estates for

the limited purpose of pursuing, compromising, and prosecuting the Estate Causes of Action.




48043747;2                                       2
 18-13359-shl Doc 660-1 Filed 02/22/19 Entered 02/22/19 15:33:05                         Stipulation
    and Order Granting Standing to the Official Committee of Unsecured                  Pg 3 of 5


         3.      This Stipulation is intended by the parties to create a common interest agreement.

To that end, the Debtors and the Committee agree to reasonably cooperate with one another in

making information and documents available to one another as required for the investigation,

prosecution, or compromise of the Estate Causes of Action. To the extent any privileged materials

are shared or otherwise disclosed by the Debtors or the Committee to one another in connection

with the investigation, prosecution or compromise of the Estate Causes of Action, such sharing or

disclosure shall not constitute any waiver of any attorney-client or other privilege.

         4.      The undersigned each acknowledge that they are duly authorized to enter into this

Stipulation on behalf of the respective parties, subject solely to Bankruptcy Court approval hereof.

         5.      This Stipulation and all of the provisions hereof shall be binding upon and shall

inure to the benefit of the parties hereto and each of their respective executors, heirs, successors,

and assigns, including without limitation, any plan administrator, liquidating trustee, or a chapter

7 trustee appointed to administer the Debtors’ estates.

         6.      This Stipulation constitutes the entire agreement between the parties hereto to the

subject matter hereof, and supersedes any prior agreements and understandings, both written and

oral, thereof.

         7.      This Stipulation shall be construed and enforced in accordance with (a) the laws of

the state of New York without giving effect to the state of New York’s rules governing the conflict

of laws, and (b) to the extent applicable, the Bankruptcy Code, as amended.

         8.      The parties hereto have cooperated in the drafting and preparation of this

Stipulation. Therefore, in any construction to be made of this Stipulation, the Stipulation shall not

be construed for or against either of the Parties on that basis.




48043747;2                                        3
 18-13359-shl Doc 660-1 Filed 02/22/19 Entered 02/22/19 15:33:05                      Stipulation
    and Order Granting Standing to the Official Committee of Unsecured               Pg 4 of 5


         9.    This Stipulation may not be modified or terminated except in writing and subject

to the approval of the Court.

         10.   This Stipulation may be executed by in separate counterparts, each of which shall

be deemed an original, but all of which, when taken together, shall constitute one and the same

instrument. This Stipulation may be executed by exchange of facsimile or electronic signatures (in

PDF or comparable format), which shall be deemed original signatures.

         11.   The Bankruptcy Court shall retain exclusive jurisdiction to hear and determine any

matters and disputes arising from or related to this Stipulation.

 AKERMAN LLP                                           COOLEY LLP

 By:
    Katherine C. Fackler (Admitted Pro Hac Vice)       Seth Van Aalten
    Andrea S. Hartley (Admitted Pro Hac Vice)          Ian Shapiro
    Joanne Gelfand (Admitted in New York)              Robert Winning
    AKERMAN LLP                                        Nicholas Flath
    98 Southeast Seventh Street, Suite 1100            1114 Avenue of the Americas
    Miami, FL 3313                                     New York, New York 10036
    Tel.: (305) 374-5600                               Tel.: 212-479-6000
    Fax: (305) 374-5095                                Fax: 212-479-6275
    E-Mail: andrea.hartley@akerman.com                 svanaalaten@cooley.com
    E-Mail: joanne.gelfand@akerman.com                 ishapiro@cooley.com
    E-Mail: katherine.fackler@akerman.com              rwinning@cooley.com
                                                       nflath@cooley.com
                      -and-
                                                       Counsel for the Official
     John E. Mitchell (Admitted Pro Hac Vice)          Committee of Unsecured Creditors
     Yelena Archiyan (Admitted in New York)
     AKERMAN LLP
     2001 Ross Avenue, Suite 3600
     Dallas, TX 75201
     Tel.: (214) 720-4300
     Fax: (214) 981-9339
     E-Mail: john.mitchell@akerman.com
     E-Mail: yelena.archiyan@akerman.com

 Counsel for Debtors and Debtors-in-
 Possession




48043747;2                                         4
 18-13359-shl Doc 660-1 Filed 02/22/19 Entered 02/22/19 15:33:05          Stipulation
    and Order Granting Standing to the Official Committee of Unsecured   Pg 5 of 5




So Ordered this ____ day of 2019

                                                   __________________________
                                                   Sean H. Lane
                                                   United States Bankruptcy Judge




48043747;2                               5
